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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                                 AIKEN DIVISION

RACHEL FRANK and DANIELLE   )                                 1:18-cv-02452-CMC
                                                   Case No.:____________________
COWETTE, on behalf of themselves
                            )
and all others similarly situated,
                            )
                            )
    Plaintiffs,             )
                            )
v.                          )                      PLAINTIFFS’ ANSWERS TO
                            )                         LOCAL RULE 26.01
GOLD’S GYM OF AIKEN, SOUTH )                         INTERROGATORIES
CAROLINA, GOLD’S GYM OF     )
NORTH AUGUSTA, SOUTH        )
CAROLINA, GOLD’S GYM OF     )
AUGUSTA, GEORGIA (BOBBY     )
JONES EXP.), GOLD’S GYM OF  )
AUGUSTA, GEORGIA (WALTON )
WAY EXT.) and GOLD’S GYM OF )
EVANS, GEORGIA.             )
                            )
    Defendants.             )


     PLAINTIFFS’ ANSWERS TO LOCAL RULE 26.01 INTERROGATORIES

       Come now the Plaintiffs, Rachel Frank and Danielle Cowette, by and through the

undersigned counsel of record, and hereby file their Answers to Local Rule 26.01

Interrogatories pursuant to the Local Rules of the United States District Court for the District

of South Carolina as follows:

A.     State the full name, address, and telephone number of all persons or legal entities who

may have a subrogation interest in each claim and state the basis and extent of said interest.

       ANSWER: None.

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B.     As to each claim, state whether it should be tried jury or nonjury and why.

       ANSWER: The Plaintiffs are entitled to and seek a trial by jury on all claims set

       forth in the Complaint.

C.     State whether the party submitting these responses is a publicly owned company and

separately identify: (1) each publicly owned company of which it is a parent, subsidiary,

partner, or affiliate; (2) each publicly owned company which owns ten percent or more of the

outstanding shares or other indicia of ownership of the party; and (3) each publicly owned

company in which the party owns ten percent of more of the outstanding hares.

       ANSWER: The Plaintiffs in this matter are individuals.

D.     State the basis for asserting the claim in the division in which it was filed (or the basis

of any challenge to the appropriateness of the division).

       ANSWER: The Aiken Division is the appropriate venue for this case because

       the alleged facts underlying Plaintiffs’ claims occurred in part in this Division

       and the Defendants transact business in this District.

E.     Is this action related in whole or in part to any other matter filed in this District,

whether civil or criminal? If so, provide: (1) a short caption and the full case number of the

related action; (2) an explanation of how the matters are related; and (3) a statement of the

status of the related action. Counsel should disclose any cases which may be related

regardless of whether they are still pending. Whether cases are related such that they should

be assigned to a single judge will be determined by the Clerk of Court based on a


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determination of whether the cases: arise from the same or identical transactions, happenings,

or events; involve the identical parties or property; or for any other reason would entail

substantial duplication of labor if heard by different judges.

       ANSWER: No.


                                           /s/ Penny Hays Cauley
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September 5, 2018
Florence, South Carolina




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